        Case 4:25-cv-10017-DSL Document 1-1 Entered on FLSD Docket 02/20/2025 Page 1 of 1
    Js44 tRev.a4n!)Fl-soRewsed12/02/2022 CIVIL CO VER SH EET
    The
    by loJ9
          s!4
            I4
             rucle
                 iv
                  sio
                    lf
                     co
                      cvert
                       ou s.
                           hn
                            eetan
                              is drt
                                fo he
                                   m  in
                                     mapfpbrr
                                            omatio
                                             ved bnycth
                                                      oe
                                                       ntJ
                                                         ainr
                                                         ud ld hleCo
                                                             cia  reinfn
                                                                       ee
                                                                        ri
                                                                         etn
                                                                           hc
                                                                            eerot
                                                                               reptl
                                                                                   har
                                                                                     cenprsu plemsntthetuingandseryiceorpleadi     n sorother apersasr uiredbylaw,exceptasprpyided
    th                                                                                Umtrdl.                      lqtr!qplsppmber1924,prrquix
                                                                                                                                             reéforlçI
                                                                                                                                                     prpftlclerkofMourtforthepuposeoflmtlating
      eclvlldocketshcet. (SEEINSTRUCTIONSONNFXTPAGEOFTHISFOJM/JN)                     ()TICE.
                                                                                            Eik
                                                                                              l
                                                                                              Aqipriiè#sl
                                                                                                        L
                                                                                                        Mpsv'rl1
                                                                                                               4 dviiàttAl
                                                                                                                         .l
                                                                                                                          pltepl.iIiilfasikmi.
                                                                                                                                             ldW
                                                                                                                                               ..
    1.(a) PLAINTIFFS                                                                                                          DEFENDANTS
                                         LorettaM DiTocco                                                                          '     ElonMusksteveDavis,LukeFanitorl kash Bo1

         (19 CotmtyofResidenceofFirstListedPlaintiffM onroe                                                                   CountyofResidenceofFirstListedDefendantw ashington DC
                                        (LYCEPTIN US.J'
                                                      J.
                                                       AlM 7#FCM ES)                                                                              (IN U.S.PDUNTIFFCASESONLT
                                                                                                                              NOTE:                        IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                                                           THETRACT0F LAND INVOLVED.
         (c) Att
               orneys(Fi
                       rmName.Aadress.andTelephoneNumber)                                                                      Att
                                                                                                                                 orneys(I
                                                                                                                                        fKnown)


    (dlcheckCountyWhereActionArose'
                                  . I:lMIAMI
                                           -DADE 1
                                                 7IMONROE n BRowalm I
                                                                    :lPALMBncllElMARTI
                                                                                     Nnsr.uucl
                                                                                             E E1I
                                                                                                 NDIANRI
                                                                                                       VERElOKEECHOBEE nHIGHLANDS
    II. BASIS OF                     SDICTION                   (
                                                                macean'tr.inoneBox(2,:
                                                                                     (v/                      IH .CITIZENSH IP OF PRINCIPA L PARTIES (Pl
                                                                                                                                                       acean'l
                                                                                                                                                             .
                                                                                                                                                             v''inoneBanlorplaint.
                                                                                                                         (ForDiversityCasesOnIy)                         andOneBoxforDqfkndant)
    D 1 U.S.Govemment                                    FederalQuestion                                                                       PTF DEF                                PTF DEF
          Piaintifl
                  -                                      (U.S.GovernmentNotaolrl,
                                                                                2                                   Ci
                                                                                                                     tizenofn isState          D 1 E1 1 Incorporat
                                                                                                                                                                 edorPl
                                                                                                                                                                      incipalPlace    El4 E14
                                                                                                                                                                            ofBusinessInThisState
    D 2 U.S.Govemmcnt                                     Dgversity                                                 CitizenofAnodlerState              E:I2       (ZI 2 IncvrporatedtpiprincipalPlace                    EEI 5 ID 5
                Defendant                                 (
                                                          Indicat
                                                                eCiti
                                                                    zenshipqfpartiesinf/c?z
                                                                                          l111)                                                                                ofBtl
                                                                                                                                                                                   sinessInAnotherStat
                                                                                                                                                                                                     e
                                                                                                                    Ci
                                                                                                                    Fot
                                                                                                                      riz
                                                                                                                        eenoCou
                                                                                                                         ipt rSunb
                                                                                                                                 tj
                                                                                                                                  re
                                                                                                                                   yctofa        1 3 IZI 3 ForeignNation
    IV. NATURE OF SUIT (elacean''
                                x''/
                                   rlone10.
                                          :onl
                                             y)                                                                                   clickherefor:NatureofsuitCodeDescript
                                                                                                                                                                      iens                                 .                           .
    ,.
      t
      y,2
    V4>
      w ;
        )
        ,
        .
        ,:.
          p
          a
          )
          .
          ,
          t
          'k
           ,
           z
           q
           b,
            ;.q .
            g   ;r-,
                   .A.
                     v7.
                       t
                       )
                       ')y
                        '
                        w)#.
                           ;
                           j
                           4
                           ,z
                            ys
                           -.p,.
                             k pz
                               i
                               -ykvi
                                   $.'
                                     kj
                                      lr.
                                       . ,
                                         Lo
                                       wwv
                                         lTo
                                           %
                                           o1
                                            T''
                                            Q.
                                            i k',
                                                )
                                                %
                                                .
                                                k
                                                'j
                                                 .
                                                 ,
                                                 J
                                                 '.:
                                                  k1J
                                                    .
                                                    9. M,'
                                                      1k -'
                                                          ?
                                                          .Y.
                                                            F.z
                                                              YF
                                                               I
                                                               W.t
                                                              s;
                                                               ,
                                                               - J
                                                                 S-z
                                                                 . CF
                                                                   .-F
                                                                    wyG
                                                                     -kV'
                                                                      .a
                                                                       i'C,
                                                                       .< D.
                                                                          ' ,.
                                                                             ?'-
                                                                               .
                                                                               e'
                                                                                j*
                                                                                 j
                                                                                 e
                                                                                 l
                                                                                 jy
                                                                                 =je'
                                                                                  h-r-
                                                                                    *
                                                                                    .'
                                                                                     k'A
                                                                                       -'
                                                                                        7
                                                                                        y-
                                                                                         '
                                                                                         /,
                                                                                          I!...
                                                                                              '-
                                                                                               é.;
                                                                                                 $f
                                                                                                  èg
                                                                                                   v.szkWr
                                                                                                         .j.
                                                                                                           tl
                                                                                                           wj,
                                                                                                            uFyr
                                                                                                             - yi.
                                                                                                                 -
                                                                                                                 S
                                                                                                                 ycp
                                                                                                                   -r
                                                                                                                    v
                                                                                                                    c*
                                                                                                                     a
                                                                                                                     '
                                                                                                                     u,-
                                                                                                                       q
                                                                                                                       '
                                                                                                                       7y
                                                                                                                        i'
                                                                                                                         l
                                                                                                                         7.w)
                                                                                                                            lJ
                                                                                                                            L
                                                                                                                            ,T;.u4(.
                                                                                                                                   74
                                                                                                                                    1.
                                                                                                                                     C1
                                                                                                                                      .:
                                                                                                                                       7
                                                                                                                                       x.
                                                                                                                                        b
                                                                                                                                        77-
                                                                                                                                        u q.
                                                                                                                                          *'-
                                                                                                                                            '
                                                                                                                                            M
                                                                                                                                            L-
                                                                                                                                             **'
                                                                                                                                               m
                                                                                                                                               ,-
                                                                                                                                                '
                                                                                                                                                ë,..
                                                                                                                                                ,  ;
                                                                                                                                                   .E
                                                                                                                                                    '
                                                                                                                                                    f'
                                                                                                                                                     3
                                                                                                                                                     ,A1
                                                                                                                                                     ;2.'
                                                                                                                                                      * l'
                                                                                                                                                        1: u'
                                                                                                                                                            y
                                                                                                                                                            xf
                                                                                                                                                            p j
                                                                                                                                                              t
                                                                                                                                                              '
                                                                                                                                                              .
                                                                                                                                                              ;r                                -
    D l10Insurance                              PERSONALiNJURY                     PERSONALINJURY I    Z)625DrugRelatedSeizure (ZI422Appeal28USC158                                                 D 375FalseClai
                                                                                                                                                                                                                 msAct
    (Z1120Mnrine                              I
                                              ZI310Ahplane                       (
                                                                                 Z1365PersonalInjury -      ofProperty21USC 881 C1423Withdrawal                                                     (
                                                                                                                                                                                                    Zl376QuiTam (31USC37294a))
    EZIl30MillerAct                           IZI315AirplaneProduct                   ProductLiability              D 690Other                                      28USC !57                         400StatgReapportiomnenl
    E1140Nego6ableInstnlment                        Liability                    C1367HealthCare/                                                                                                   D 410Antitnzst
    El150RecoveryofOvcrpayment D320Assault
                                         .Libcl&                                          Phannaceuécal                                                   I
                                                                                                                                                          jI
                                                                                                                                                           yA
                                                                                                                                                            z.NYl
                                                                                                                                                              tu.u
                                                                                                                                                                 y,,
                                                                                                                                                                   j77
                                                                                                                                                                    '
                                                                                                                                                                    u
                                                                                                                                                                   sn jR
                                                                                                                                                                     ôy '
                                                                                                                                                                       tr
                                                                                                                                                                        t,
                                                                                                                                                                         g
                                                                                                                                                                         .
                                                                                                                                                                        z,
                                                                                                                                                                         mè '  W
                                                                                                                                                                               yj.RWylq
                                                                                                                                                                                  qr
                                                                                                                                                                                   y    'k
                                                                                                                                                                                         guj
                                                                                                                                                                                      /jAb bu 4x sanksandBanking
           & EnfomementofJudm ent      Slander.                                           PersonalInjury                                                    Elàzo.             s ,.v.,x. D 450Cenuneme
                                                                                                                                                                      copyrigtlt
    ID 151M edicareAd             D 330FederalEmployem'                                 ProductLiabiiity                                                   E1 830Patent                             E1460Deportation
    E1lS52 Recovery of Defaulted
        tudentLoans '
                                        !;u:y;4
                                       ='*0 ***ux.,                                  368 Asbestos Personal                                                 r
                                                                                                                                                           =n 835Pa
                                                                                                                                                                Newtentu-gAbb
                                                                                                                                                                    Dr       reivi
                                                                                                                                                                          Appl  caat
                                                                                                                                                                                  tioed
                                                                                                                                                                                      n             1
                                                                                                                                                                                                    =.a 470Ra
                                                                                                                                                                                                        and  crkuept
                                                                                                                                                                                                           Cor     teerI
                                                                                                                                                                                                                     Or nfmz
                                                                                                                                                                                                                       ga ipenc eds
                                                                                                                                                                                                                             ation
         (Excl.Vetemnq)                       El340Marine                        (
                                                                                 ZIInjuryProductLi
                                                                                                 abili
                                                                                                     ty                                                    (
                                                                                                                                                           E18
                                                                                                                                                           u s480
                                                                                                                                                                0Traf
                                                                                                                                                                 De d
                                                                                                                                                                    ce
                                                                                                                                                                     nma
                                                                                                                                                                      dTrr
                                                                                                                                                                         kadeSecret
                                                                                                                                                                                  s                 ZI4a4)conjumerCredit
                                                                                                                                                                                                    E
                                                                                                                                                               Actof2016                                (j5usc !68lor1692)
    EE
     I11
       51
        5l
         st
          .
          e(
           )4
            2
            1
            !k
             '
             ea4:
                ,
                1
                r4:
                  2
                  4
                  lk
                   '4
                    )I
                     r
                     II
                      lyj
                        :
                        r
                        l(
                         ,1r
                           12 (
                              :1:
                                5,
                                 1
                                 .1
                                  5l
                                   hyl112
                                        111(
                                           ,l
                                            F'
                                             l
                                             r
                                             tl4
                                               j(
                                                l
                                                ;
                                                l(
                                                 )1
                                                  2                                           j7
                                                                                               lk '
                                                                                                 i.r
                                                                                                   n.Jr.
                                                                                                   ;,  g.
                                                                                                        '
                                                                                                        ll .
                                                                                                           -rlr.
                                                                                                               ;
                                                                                                               ' vbl%
                                                                                                                    'r'n n
                                                                                                                         ' ,n Mb     i-r
                                   .                                                          l$- z.j
                                                                                                    -yt
                                                                                                      /&
                                                                                                      ..
                                                                                                       -,
                                                                                                        ;
                                                                                                        .
                                                                                                        -
                                                                                                        .r)
                                                                                                          .,
                                                                                                           .j
                                                                                                            .y
                                                                                                             r
                                                                                                             .l?
                                                                                                               r
                                                                                                              ..r
                                                                                                                x,
                                                                                                                 j
                                                                                                                 k
                                                                                                                 ,
                                                                                                                 .i
                                                                                                                  .
                                                                                                                  (
                                                                                                                  )
                                                                                                                  $
                                                                                                                  j
                                                                                                                  '
                                                                                                                  .
                                                                                                                  .;
                                                                                                                   i
                                                                                                                   :
                                                                                                                   ç!
                                                                                                                    j
                                                                                                                    .
                                                                                                                    o
                                                                                                                     i
                                                                                                                     .E
                                                                                                                     g
                                                                                                                     ,
                                                                                                                     ..1
                                                                                                                      .
                                                                                                                       h
                                                                                                                       y,d
                                                                                                                       -
                                                                                                                       .
                                                                                                                       , sL
                                                                                                                         .,1
                                                                                                                           kh
                                                                                                                           ..1
                                                                                                                             .
                                                                                                                             .i
                                                                                                                              u)
                                                                                                                             ...t     jLs
                                                                                                                                .htyr::
                                                                                                                                      . .   ;j
                                                                                                                                        L.$j. j<g
                                                                                                                                              t j(',  '
                                                                                                                                                      k
                                                                                                                                                 .k.y:.
                                                                                                                                                      :u
                                                                                                                                                        .
                                                                                                                                                       ,.
                                                                                                                                                         ,t
                                                                                                                                                          j'
                                                                                                                                                        g..;
                                                                                                                                                            y
                                                                                                                                                            à.,:j
                                                                                                                                                           ..
                                                                                                                                                                 g
                                                                                                                                                                 .(
                                                                                                                                                                .rkf
                                                                                                                                                                    (
                                                                                                                                                                    s
                                                                                                                                                                     y7
                                                                                                                                                                     ;
                                                                                                                                                                        y)7
                                                                                                                                                                     ,,g.
                                                                                                                                                                          :
                                                                                                                                                                          v
                                                                                                                                                                           7'T
                                                                                                                                                                           ..,.
                                                                                                                                                                                ?
                                                                                                                                                                                t'
                                                                                                                                                                               s.
                                                                                                                                                                                ,
                                                                                                                                                                                :
                                                                                                                                                                                 7'
                                                                                                                                                                                 .
                                                                                                                                                                                 s
                                                                                                                                                                                 :
                                                                                                                                                                                 .:
                                                                                                                                                                                 u,
                                                                                                                                                                                  .
                                                                                                                                                                                  w
                                                                                                                                                                                   Fsy;
                                                                                                                                                                                   :
                                                                                                                                                                                   .,;
                                                                                                                                                                                     y<
                                                                                                                                                                                       ,
                                                                                                                                                                                       ?
                                                                                                                                                                                       ,
                                                                                                                                                                                      ,h
                                                                                                                                                                                      ..
                                                                                                                                                                                        %
                                                                                                                                                                                        ,gja ,.x'
                                                                                                                                                                                       x4
                                                                                                                                                                                        F
                                                                                                                                                                                        ,..
                                                                                                                                                                                          0
                                                                                                                                                                                          a
                                                                                                                                                                                          :
                                                                                                                                                                                          .,
                                                                                                                                                                                           a
                                                                                                                                                                                           .k
                                                                                                                                                                                            :
                                                                                                                                                                                            a
                                                                                                                                                                                            .o;
                                                                                                                                                                                              k.
                                                                                                                                                                                              .z-
                                                                                                                                                                                                .,as
                                                                                                                                                                                                   .
                                                                                                                                                                                                   o,
                                                                                                                                                                                                    k
                                                                                                                                                                                                     5:.z
                                                                                                                                                                                                    .;
                                                                                                                                                                                                     EJ
                                                                                                                                                                                                      VJ
                                                                                                                                                                                                         ';u 485TelephoneConsmner
                                                                                                                                                                                                        %4
                                                                                                                                                                                                         (
                                                                                                                                                                                                         1. l  g
                                                                                                                                                                                                               'l
                                                                                                                                                                                                                rl
                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                 j
                                                                                                                                                                                                                 tt;
                                                                                                                                                                                                                   (
                                                                                                                                                                                                                   ;1
                                                                                                                                                                                                                    :1
                                                                                                                                                                                                                     ()j;
                                                                                                                                                                                                                        la,s
                                                                                                                                                                                                                           k(:j
                                                                                                                                                                                                                              :(g
                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                r(:I
                                                                                                                                                                                                                                   F
                                                                                                                                                                                                                                   hj
                                                                                                                                                                                                                                    /q
                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                     Z
                                                                                                                                                                                                                                     I
       orveteran'sBeneGts                   Li ability'              PERSONALPROPERTY Z17lQFairLaborStandart                                 lsAots Z!56lHIA (13951                                        U 490Cable/satTV
    El
    C 1l60 Stockholders'Suits        Cl350MotorVehicle             D 370OtherFraud              D 720lwabor/Mgmt.Relations E1862Bl                                               ackLung(923)              El850Sectuities/cornmodi    ties/
       190Otl xrContract             D 355MotorVelziclo            D 37lTnzthinLendi    ng (     Z1740Rail       wayLaborAct                                       (:)863DIWC/DIWW (405(g))                    Excbange
    IZI195Cone ctProductLiability           ProductLiability       EE1380OtherPersonal          IZI75lFamilyandMedical                                             LEI864SSID TitleXVI                     E:) 890OtherSfatutory Actions
    E1196Franchise                   (:l360OtlmrPersonal               PropertyDamage                      LeaveAct                                                (Z1865RSI(4051))                        EEI891Aglicultl   tr'
                                                                                                                                                                                                                               alActs
                                            I
                                            njury                  D 385PropertyDamage EEI790Ot               hcrLqborLi           tigati      on                                                          I
                                                                                                                                                                                                           D 893EnvironmentalMatters
                                     El362PersonalInju:y-              ProductLiabili
                                                                                    ty          (:179IEmployeeRdirement                                                                                    E1 895Freedom ofInfonnati    onAct
                                            Med.Malp   a ctice                                           IncomeSecuri          tyAct                                                                       Cl896Arbitration
      :%jCv' p . t!yjj )     . r::)'
                                   k
                                   ;y
                                    ,
                                    .;
                                     )4)j?:çt.r.:  Umajluj-
                                                          yc
                                                           o-lvlc
                                                                z
                                                                rl
                                                                 g
                                                                 rxl
                                                                  goF-
                                                                    wj ''
                                                                        r
                                                                     oh,''s'
                                                                           y
                                                                           C
                                                                           '-EWm y'  j,
                                                                                      r
                                                                                      j,
                                                                                       :,-V'
                                                                                           y'
                                                                                            J.
                                                                                             î                                                                   F/
                                                                                                                                                                 o  ujy
                                                                                                                                                                      j
                                                                                                                                                                      vkjar
                                                                                                                                                                          it'b-
                                                                                                                                                                              p
                                                                                                                                                                              d-
                                                                                                                                                                               vmj'
                                                                                                                                                                                  ixvW-     r-
                                                                                                                                                                                            oojsV''V'C7/'W I
                                                                                                                                                                                                           Z g99Admein    çstra;veProcedl re
     (ZI2l0LandCondemnadon           1 440OtherCi     vilRights        HabeasCorpus:                                                                               (Z1 -lzaxes(1.i.        !.Pamt! or Act/Revi          w orAppealof
                                                                                                                                                                        oejv  endallt)                        AgencyDecision
    C1 220Foreçlosuro                         EZI441Voting                       IZI 463AlienDetainee                                                      C1871IRS           '                                   ' tionali of
                                                                                                                                                               ,76:9                                                es
    E:l230RentLease&Ejectment (Zl442Empl
                                       oment                                     EZIs,
                                                                                     ec
                                                                                      nte.t
                                                                                         nce i
                                                                                             --,t- va-.                                                                     Flup
                                                                                                                                                                               -a r
                                                                                                                                                                                  ay                                     n.c ,
    El240TortstoLand                         D4
                                              A43 Hotlsing/
                                                ccormuodatious
                                                                                 u 5ac(ujwral
                                                                                                                                       .
    !
    (
    Z1245TortProductLiabil
                         ity                 (Zl445Amer.wrisabil
                                                               iti
                                                                 es- D 535DeathPenalty                             J?
                                                                                                                   Vz
                                                                                                                    Cz4
                                                                                                                      g)
                                                                                                                       A7)
                                                                                                                         wV
                                                                                                                         '.
                                                                                                                          w,
                                                                                                                           .
                                                                                                                           -.
                                                                                                                            -'-=-'
                                                                                                                                 ft1' .. s'
                                                                                                                                          t
                                                                                                                                          r'
                                                                                                                                          ';k
                                                                                                                                            (7i
                                                                                                                                              t
                                                                                                                                              TLh'                        ,
         290A11OtherRealProperty             E1446EAmp
                                                    melr
                                                       om ent                        Other:                         D 462Nat'
                                                                                                                            t
                                                                                                                            m
                                                                                                                            '
                                                                                                                            *'
                                                                                                                             a1Y
                                                                                                                               lz
                                                                                                                                *
                                                                                                                                -
                                                                                                                                q1s
                                                                                                                                  ta$u
                                                                                                                                  o  'o
                                                                                                                                      Z-
                                                                                                                                      pp'hY'c
                                                                                                                                       u    Va
                                                                                                                                             son                                         FEg 2g 2225
                                                            .   wr isabilities- IZI540Mandamus& Other EZI465OtherImm
                                             EEI448Ot
                                                   Edhe
                                                      r
                                                     ucadon
                                                                                 D 550CivilRights
                                                                                 D 555PrisonCondition
                                                                                                                           Actions                                                      ANGELAE. NOBLE
                                                                                                                                                                                       CLERK U.s.
                                                                                   560Ci                                                                                                         Djsm c;
                                                                                 ClCondityilDetaince-
                                                                                         lons0f
                                                                                                                                                                                     s D. OFFLA -KEYwEs-r
                                                                                                                                                                                      *        '
                                                                                     Clmfinement
V*ORIGIN                            (Pl
                                      ucean'X'tnO?l
                                                  eBox(7/1
                                                         4*                               '.
    ë l origma
            proceedug c 2 Re
            'l              moved cl 3 Re-sled In 4 Reinstated u
                          som state    tseevl       or                                                  Transferrsdrrom
                                                                                                        anotherdlstrict          El 6 Multidistrict
                                                                                                                                       Litigation           EEI 7 APPealto               u g xjt!
                                                                                                                                                                                                jtjajstrict    Remandetlsom
                          Co                                                                                                                                       jtrictJudge                  ut,tjtion EEI9 Appulatecourt
                                        urt               below)               Reopened                 l%
                                                                                                         pecekl                        Transfer                     Dros
                                                                                                                                                                    f  mMagst
                                                                                                                                                                            rate                -    àl
                                                                                                                                                                                                      rect
                        .                                                                                                                                           Judm ent                    Hle
W .RELATED/                                        (Seei
                                                       nstructioms):a)Re-filedCase LYES C!NO                                  b)RelatedCases LYES EEIN0
RE
 ' -FILED CASEIS)                                                  JUDGE:                                                                           DOCKETNUMBER:
                                                   CitetheU.S.CivilStatuteunderwhichyouarefilingandWri
                                                                                                     teaBriefStatementofCause (Donotcpe/vraicftl
                                                                                                                                               allxfatl
                                                                                                                                                      z/eçunlesstfpezxl '
                                                                                                                                                                        .
VH.CAUSE OFACTION PrivacyActof197445U.
                                     S.C.j55219,GLBA (15U.
                                                         S.C.j6805).42U.S.C.b1983 (CivilRightsAct)
                                                   LENGTH OFTRIAL via                        daysestimated(forb0thsidestotrventirecasel                                                                                   -

VIH.REQW
'
     M   STED IN                                    I
                                                    :1CHECKIFTHISISACLASSACTION                                       DENIAND $                                      CHECK YESonly i
                                                                                                                                                                                   fdemandcdincomplaint:
                   P
                   .            .                                ER F.R.C.P,23
                                                                                                                                                                   JURY DEMAND:       E3 Yes -K No
ABOE INFORMATION ISTRUE& CORRECTTO THEBESST
DAT                                         OFMYD OWLEDGE
                                          IGNATUREOF ATTORNEY OFRECORD

FOR OFFICE USE ONLY :RECEIPT #                                          AMOUNT                               IFP                   JUDGE                                  MAG JUDGE                                                7
